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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OHIO

EASTERN DIVISION
UNITED STATES OF AMERICA, ) INDICTMENT
)
Plaintiff, ) 5 e
>25 CR 00023
v. ) CASE NO.
) Title 18, United States Code,
CHANCE YORK, ) Sections 2252(a)(2) and
) 2252A(a)(5)(B)
Defendant. )

can JUDGE BOYKO

(Receipt and Distribution of Visual Depictions of Real Minors Engaged in Sexually Explicit
Conduct, 18 U.S.C. § 2252(a)(2))

The Grand Jury charges:

1. From on or about November 5, 2017, through on or about August 30, 2024, in the
Northern District of Ohio, Eastern Division, and elsewhere, Defendant CHANCE YORK did
knowingly receive and distribute, using any means and facility of interstate and foreign
commerce, numerous computer files, which files contained visual depictions of real minors
engaged in sexually explicit conduct, and which files had been shipped and transported in and
affecting interstate and foreign commerce, as defined in Title 18, United States Code, Section

2256(2), in violation of Title 18, United States Code, Section 2252(a)(2).
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COUNT 2
(Possession of Child Pornography, 18 U.S.C. § 2252A(a)(5)(B))

The Grand Jury further charges:

2. On or about September 24, 2024, in the Northern District of Ohio, Eastern
Division, Defendant CHANCE YORK did knowingly possess a black Google Pixel cellular
phone and a Seagate portable drive bearing serial number NA7QHK6Q, both of which devices
contained child pornography as defined in Title 18, United States Code, Section 2256(8), which
child pornography had been shipped and transported in interstate and foreign commerce by any
means, including by computer, and which was produced using materials which had been shipped
and transported in interstate and foreign commerce by any means, including by computer, and at
least one image involved in the offense involved a prepubescent minor or a minor who had not

attained 12 years of age, in violation of Title 18, United States Code, Section 2252A(a)(5)(B).

A TRUE BILL.

Original document - Signatures on file with the Clerk of Courts, pursuant to the E-Government

Act of 2002.
